                   Case 4:10-cr-00013-BSM Document 462 Filed 11/05/20 Page 1 of 6

AO 245D {Rev. 09/19)    Judgment in a Criminal Case for Revocations
                        Sheet I



                                      UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas

              UNITED STA TES OF AMERICA                               )) JUDGMENT IN A CRIMINAL CASE
                                 v.                                   ) (For Revocation of Probation or Supervised Release)
                                                                      )
                        Claude Dukes, Jr                              )
                           aka Dukes
                                                                      ) Case No. 4:10-cr-00013-BSM-6
                                                                      ) USM No. 25756-009                                FILED
                                                                                                                  U.S. DISTRICT COURT
                                                                      )                                     EASTERN DISTRICT ARKANSAS
                                                                      ) Omar F. Greene, II
THE DEFENDANT:
l!1'   admitted guilt to violation of condition(s)       -1~
                                                           3 ~
                                                             4 5~6 - - - - - - - of the tenn of      swlAMi&
•      was found in violation of condition(s) count(s)                             after denial of guilt.By: _ _~--1r~+-"-------
The defendant is adjudicated guilty of these violations:


Violation Number               Nature of Violation                                                          Violation Ended
See page 2.




       The defendant is sentenced as provided in pages 2 through _ _6 __ ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
•      The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5973                                                11/04/2020
                                                                                           Date of Imposition of Judgment
Defendant's YearofBirth:              1982

City and State of Defendant's Residence:
                                                                                    -23   ~~re~ge?h · ~                           =
Newport, Arkansas
                                                                                  Brian S. Miller, United States District Judge
                                                                                               Name and Title of Judge


                                                                                                   11/05/2020
                                                                                                        Date
                  Case 4:10-cr-00013-BSM Document 462 Filed 11/05/20 Page 2 of 6

AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet IA

                                                                                            Judgment-Page   -~2-    of    6
DEFENDANT: Claude Dukes, Jr aka Dukes
CASE NUMBER: 4:10-cr-00013-BSM-6

                                                  ADDITIONAL VIOLATIONS

                                                                                                                   Violation
Violation Number               Nature of Violation                                                                 Concluded
1 - Special (1)                The defendant shall participate, under the guidance and supervision of the       05/30/2017

                               U.S. Probation Office, in a substance abuse treatment program which may

                               include testing, outpatient counseling, and/or residential treatment. Further,

                               the defendant shall abstain from the use of alcohol throughout the course of

                               treatment. This is based upon alcohol abuse indicated in the presentence

                               report.

3- General                     The defendant shall not commit another federal, state, or local crime.           07/24/2017

4- General                     The defendant shall not unlawfully possess a controlled substance. The           07/24/2017

                               defendant shall refrain from any unlawful use of a controlled substance. The

                               defendant shall submit to one drug test within 15 days of release from

                               imprisonment and at least two periodic drug tests thereafter, as determined

                               by the court.

5 - Standard (7)               The defendant shall refrain from excessive use of alcohol and shall not             07/24/2017

                               purchase, possess, use, distribute, or administer any controlled substance or

                               any paraphernalia related to any controlled substances, except as prescribed

                               by a physician.

6 - Standard (1)               The defendant shall not leave the judicial district without the permission of       07/24/2017

                               the court or probation officer.
                   Case 4:10-cr-00013-BSM Document 462 Filed 11/05/20 Page 3 of 6

AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2- Imprisonment
                                                                                               Judgment -   Page   3     of   6
DEFENDANT: Claude Dukes, Jr aka Dukes
CASE NUMBER: 4:10-cr-00013-BSM-6


                                                             IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
Time Served.




     •   The court makes the following recommendations to the Bureau of Prisons:




     •   The defendant is remanded to the custody of the United States Marshal.

     •   The defendant shall surrender to the United States Marshal for this district:
         •    at    _________ •                       a.m.      •    p.m.    on
         •    as notified by the United States Marshal.

     •   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         •    before 2 p.m. on
         •    as notified by the United States Marshal.
         •    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                     to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                            By
                                                                                         DEPUTY UNITED STATES MARSHAL
                Case 4:10-cr-00013-BSM Document 462 Filed 11/05/20 Page 4 of 6

AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 3 - Supervised Release
                                                                                                Judgment-Page   _4__     of       6
DEFENDANT: Claude Dukes, Jr aka Dukes
CASE NUMBER: 4:10-cr-00013-BSM-6
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 3 years.




                                                   MANDATORY CONDITIONS
I.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                • The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check ifapplicable)
4.     • You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicable)
5.     • You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     • You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     • You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                Case 4:10-cr-00013-BSM Document 462 Filed 11/05/20 Page 5 of 6

AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 3A - Supervised Release
                                                                                                                5_ of
                                                                                                Judgment-Page _ _                  6
DEFENDANT: Claude Dukes, Jr aka Dukes
CASE NUMBER: 4:10-cr-00013-BSM-6

                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
      your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
      different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
      and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
      from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
      officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
      or your job responsibilities), you must notify the probation officer at least IO days before the change. If notifying the
      probation officer at least IO days in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
      been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
      permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
      that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
      nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
      may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
      contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and
Supervised Release Conditions, available at: w,vw.uscourts.gov.

Defendant's Signature                                                                          Date
                  Case 4:10-cr-00013-BSM Document 462 Filed 11/05/20 Page 6 of 6

  AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                         Sheet 38 - Supervised Release
                                                                                         Judgment-Page   _6_   of   -~6~_
  DEFENDANT: Claude Dukes, Jr aka Dukes
  CASE NUMBER: 4:10-cr-00013-BSM-6

                                   ADDITIONAL SUPERVISED RELEASE TERMS
14. You must participate in a substance abuse treatment program under the guidance and supervision of the probation
office. The program may include drug and alcohol testing, outpatient counseling, and residential treatment. You must
abstain from the use of alcohol during treatment. You must pay for the cost of treatment at the rate of $10 per session, with
the total cost not to exceed $40 per month, based on ability to pay as determined by the probation office. If you are
financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

15. You must participate in a mental health treatment program under the guidance and supervision of the probation office.
You must pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per month,
based on ability to pay as determined by the probation office. In the event you are financially unable to pay for the cost of
treatment, the co-pay requirement will be waived.
